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                                   UNITED STATES DISTRICT COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
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13   IN RE CATHODE RAY TUBE (CRT)                    )       Case No. CV-07-5944
     ANTITRUST LITIGATION                            )
14                                                   )       MDL No. 1917
                                                  _ )
15   This Document Relates to:                       )       [PROPOSED] ORDER RE ISSUANCE OF
                                                     )       LETTERS ROGATORY
16   All Indirect-Purchaser Actions Including:       )
     Stack, et al., v. Chunghwa Picture Tubes, Ltd., )       Honorable Samuel Conti
17   et al., Case No. C08-1319-WBD                   )
                                                     )
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20          This matter came before the Court pursuant to Civil Local Rule 7-11. Having considered
21   the Request, and GOOD CAUSE appearing, IT IS HEREBY ORDERED THAT:
22          The motion for issuance of letters rogatory on Defendants Chunghwa Picture Tubes, Ltd.
23   and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. is GRANTED.
24                 31 2008
     Dated: March ____,
25                                                       ___________________________________
                                                                The Honorable Samuel Conti
26
     #3172563v1                                                  United States District Judge
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28
                           [PROPOSED] ORDER RE ISSUANCE OF LETTERS ROGATORY
